      Criminal Notice of Appeal - Form A


                                                          NOTICE OF APPEAL

                                                         United States District Court

                                           Southern
                                        - - - - - - - District of New York
      Caption:
      United
      _ __   States
               __   of_
                      America
                        _ _ _ _ v.


                                                                                           Docket No.:             22-cr-0673 (LAK)
      Samuel Bankman-Fried
                                                                                                                   Lewis A. Kaplan
                                                                                                                      (District Court Judge)


      Notice is hereby given that   Samuel Bankman-Fried                                        appeals to the United States Court of
                                                                                       Order Regarding Unsealing of Names of Non-Parental
      Appeals for the Second Circuit from the judgment ___J, other I X               ..§.!!.r!!l!l_it.,._,CD=o=c•c...oN=o"--.= 5 7 ' " " } · ' - - - - - - - - -
                                                                                                                   (specify)
      entered in this action on January 30, 2023
                                    (date)




      This appeal concerns: Conviction only L._ Sentence only L_J Conviction & Sentence                                  L_       Other L!_

      Defendant found guilty by plea   I     I trial I     I NIAi X ·.
      Offense occurred after November 1, 1987? Yes             I       Nol           N/A[ X                    t.-...'SD('. SD-i.n,
                                                                                                                               I'f·J"
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      Date of sentence: _ _ _ _ _ _ _ _ _ _ _ N/A                        L!J                                  I. . 1( T'MEN1'                  1
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                                                                                                                                                                       •,       I



      Bail/Jail Disposition: Committed L._ Not committed              IX     N/A I                            1:..Lf:CTRONICALLY'PILED
                                                                                                          ,. [H)C #:

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      Appellant is represented by counsel? Yes X             I No I        If yes, provide the following information: ,


      Defendant's Counsel:            Mark S. Cohen and Christian Everdell, Cohen & Gresser LLP

      Counsel's Address:               800 Third Avenue, Fl. 21

                                       New York, NY 10022

      Counsel's Phone:                 (212) 957-7600


                                    Nicolas Roos, Danielle R. Sassoon, Samuel Raymond, Thane Rehn, and Andrew Rohrbach
      Assistant U.S. Attorney:
...   AUSA's Address:
                                    The Silvio J. Mollo Building

                                    One Saint Andrew's Plaza, New York, New York 10007

')    AUSA's Phone:                 (212) 637-2324
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n
fJ
                                                                                                          Signature

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                                                                                U.S. District Court

                                                                       New York Southern - Manhattan
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Cohen & Gresser LLP



 Rcpt. No: 12125                                                                Trans. Date: Feb 7, 2023 12:25PM                                                                                               Cashier ID: #PS

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  Comments: 22cr673



   Only when the bank clears the check, money order, or verifies credit of funds, is the fee or debt officially paid or discharged. A $53 fee
   will be charged for a returned check.
